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                         IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

RUSSELLVILLE SCHOOL DISTRICT                                                         PLAINTIFF

v.                               Case No. 4:20-cv-00722 KGB

T. R., Parent and Next Friend of K.R.,
a Minor                                                                            DEFENDANT

                                             ORDER

       Before the Court is the joint motion to dismiss with prejudice of plaintiff/counter defendant

Russellville School District’s (“RSD”) and defendant/counter claimant T.R., individually and as

parent and next friend of K.R., a minor (Dkt. No. 33). The parties state that they have successfully

mediated their dispute in this case and that all matters involving the settlement have been fulfilled

(Id., ¶ 5). For good cause shown, the Court grants the parties’ joint motion to dismiss (Id.). The

Court dismisses all of the claims in plaintiff’s complaint with prejudice and all of the claims in

defendant’s counterclaim with prejudice. The Court denies as moot all other pending motions

(Dkt. Nos. 21, 25, 28, 30).

       So ordered this 7th day of December, 2021.


                                                      _______________________________
                                                      Kristine G. Baker
                                                      United States District Judge
